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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DOUGLAS J. BEEVERS, AZ Bar #016370
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    CHERYL PETERSON
7
8
                         IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      NO. CR-S-10-191 JAM
                                     )
12                  Plaintiff,       )
                                     )      AMENDED STIPULATION AND ORDER
13        v.                         )      MODIFYING CONDITIONS OF RELEASE
                                     )
14   CHERYL PETERSON,                )      Date: NONE
                                     )      Time: NONE
15                  Defendants.      )      Judge: Hon. John A. Mendez
                                     )
16   _______________________________ )
                                     )
17
18         It is hereby stipulated between the parties, Matthew Stegman,
19   Assistant United States Attorney, attorney for plaintiff and Douglas J.
20   Beevers,   Assistant   Federal   Defender,    attorney   for   defendant     CHERYL
21   PETERSON, that her Conditions of Release, Special Condition #11 be added
22   and amended as follows: #11 You shall participate in a program of medical
23   or   psychiatric   treatment,    including   treatment   for   drug    or   alcohol
24   dependency, as approved by the pretrial services officer. U.S. Pretrial
25   Services Officers, counsel for the government, and counsel for defendant,
26   CHERYL PETERSON, agree with the condition as set forth therein.
27         The U.S. Pretrial Services Office and the U.S. Attorney’s Office
28   have no objection to the proposed modification.
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1    IT IS SO STIPULATED
2
3    Dated: June 25, 2010                      Respectfully submitted,
4                                              DANIEL J. BRODERICK
                                               Federal Defender
5
                                               /s/ Douglas J. Beevers
6
                                               DOUGLAS J. BEEVERS
7                                              Assistant Federal Defender
                                               Attorney for Defendant
8                                              CHERYL PETERSON
9
     Dated: June 25, 2010                      BENJAMIN B. WAGNER
10                                             United States Attorney
11
                                               /s/ Matthew Stegman
12                                             ________________________________
                                               Matthew Stegman
13                                             Assistant U.S. Attorney
14
15                                          O R D E R
16
          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
17
     ordered that as to defendant CHERYL PETERSON’S Conditions of Release,
18
     Special Condition #11 be added and amended as follows: #11 You shall
19
     participate in a program of medical or psychiatric treatment, including
20
     treatment for drug or alcohol dependency, as approved by the pretrial
21
     services officer.
22
23
     IT IS SO ORDERED.
24
     Dated:      June 28, 2010
25                                              /s/ Gregory G. Hollows
26                                             United States Magistrate Judge
     peterson.ord
27
28
